Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 1 of 31 PageID #: 153




       EXHIBIT E
Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 2 of 31 PageID #: 154




                          Terms and Conditions
                                Last updated on February 1, 2020

     Clubs, Site & MembershipCash Rewards ProgramCash Back Rewards on Sam's Club
       MastercardClub PickupFree ShippingFree Tire RepairInstant SavingsPrescription
EyeglassesPrescriptions ProgramSatisfaction GuaranteeSubscription Order ServicesScan and Go

Clubs, Site and Membership Terms of Use
I. Introduction

These Terms of Use ("Terms") govern your access to and use of the SamsClub.com site and
Sam's Club Mobile Application (collectively, "Site") and Sam's Club Stores ("Clubs"). These
Terms apply to both Sam's Club Members and non-Members. Your use of the Site constitutes
your agreement to follow and be bound by these Terms. By using the Site, you affirm that you
are of legal age to enter into these Terms, or, if you are not, that you have obtained parental or
guardian consent to enter into these Terms. If you violate or do not agree to these Terms, then
your access to and use of the Site is unauthorized.

For Sam's Club Members, these Terms also govern your Membership with Sam's Club as further
set forth in the Membership section below ("Membership Terms"). By entering and maintaining
your Sam's Club Membership, you agree to be bound by these Terms, including the Membership
Terms and the terms and conditions related to related Sam's Club policies and programs cross-
referenced in the Additional Terms section below.

IMPORTANT: THIS AGREEMENT CONTAINS A MANDATORY ARBITRATION
PROVISION THAT, AS FURTHER SET FORTH BELOW, REQUIRES THE USE OF
ARBITRATION ON AN INDIVIDUAL BASIS TO RESOLVE DISPUTES. THIS MEANS
THAT YOU AND SAM'S CLUB ARE EACH GIVING UP RIGHTS TO SUE EACH OTHER
IN COURT OR IN CLASS ACTIONS OF ANY KIND.

We may update these Terms from time to time by notifying you of such changes by any
reasonable means, including by posting revised Terms through the Site. Any such changes will
not apply to any dispute between you and us arising prior to the date on which we posted the
revised Terms incorporating such changes or otherwise notified you of such changes. By
continuing to use or access the Site after we post any changes, you accept the updated Terms.

The "Last Updated" legend above indicates when these Terms were last revised.

II. Intellectual Property; Use of Site

                                Effective February 1, 2020 [SL/AC/AO]
Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 3 of 31 PageID #: 155




The Site and all materials, including images, illustrations, designs, icons, photographs, video
clips, software and written and other materials that are part of this site (collectively, the
"Contents") may be subject to copyrights, trademarks, trade dress and/or other intellectual
property owned, controlled or licensed by Sam's Club, one of its affiliates, or by third parties
who have licensed their materials to SamsClub.com and may be protected by U.S. and
international copyright laws. Subject to your compliance with these Terms, and solely for so long
as you are permitted by Sam's Club, you may access, view, download, and print the Contents for
your personal, non-commercial use only; provided, however, that you (1) retain all copyright,
trademark, or other proprietary designations contained on all Contents; (2) do not modify or alter
the Contents in any way except as expressly permitted; and (3) do not provide or make available
the Contents to any third party in a commercial manner.

The compilation (meaning the collection, arrangement, and assembly) of all content on this site
is the exclusive property of Sam's Club and is also protected by U.S. and international copyright
laws. If you believe that your work has been copied and is accessible on the Site in a way that
constitutes copyright infringement, please follow the procedure outlined below in Section III-
DMCA Notice; Procedure for Making and Responding to Claims of Copyright Infringement.

The content and software on this Site may be used only as a shopping resource. You may
download or copy the Contents and other downloadable materials displayed on the site for your
personal, non-commercial use only. No right, title or interest in any downloaded materials or
software is transferred to you as a result of any such downloading or copying. You may not
reproduce (except as noted above), publish, transmit, distribute, display, modify, create
derivative works from, sell or participate in any sale of or exploit in any way, in whole or in part,
any of the Contents, the site or any related software.

III. DMCA Notice; Procedure for Making and Responding to Claims of
Copyright Infringement

We respect the intellectual property of others. If you believe that your work has been copied and
is accessible on the site in a way that constitutes copyright infringement please see our DMCA
Procedure (available at http://help.walmart.com/app/answers/detail/a_id/254)for instructions on
how to contact us to report possible copyright infringement.

IV. User Account, Comments, and Ideas
You certify that any content you provide on or through the Site and Sam's Club Communities is
accurate and that the information you provide on or through the Site is complete. You are solely
responsible for maintaining the confidentiality and security of your SamsClub.com account
including username and password. Sam's Club is not responsible for any losses arising out of the
unauthorized use of your account. You agree that Sam's Club does not have any responsibility if
you lose or share access to your device or your account. Any agreement between you and the
issuer of your credit card, debit card, or other form of payment will continue to govern your use
of such payment method on the Site. You agree that Sam's Club is not a party to any such
agreement, nor is it responsible for the content, accuracy, or unavailability of any method used
for payment. Your account may be restricted or terminated for any reason, at our sole discretion.

                                Effective February 1, 2020 [SL/AC/AO]
Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 4 of 31 PageID #: 156




Except as otherwise provided by law, at any time without notice to you, we may (1) change,
restrict access to, suspend, or discontinue the Site or any portion of the Site; or (2) change,
modify, or waive any fees required to use any services, functionality or other content available
through the Site or any portion of the Site.

Sam's Club does not claim ownership of any comments or reviews submitted or offered by you
on or through this Site ("Comment(s)") or ideas, concepts, feedback, or know-how ("Ideas"). By
making any Comment, you agree that such Comment is non-confidential, non-proprietary, and
may be disseminated or used by Sam's Club. If you make a Comment, you automatically grant—
or warrant that the owner of such content has expressly granted--Sam's Club a royalty-free,
perpetual, irrevocable, worldwide, unlimited, nonexclusive license to use, reproduce, create
derivative works from, modify, publish, edit, translate, distribute, perform, and display (publicly
or otherwise) the Comments and Ideas in any media or medium, or any form, format, or forum
now known or hereafter developed.

Sam's Club's policy is to not accept or review unsolicited Ideas. Notwithstanding this policy, any
Ideas that are submitted or offered through the Site shall be and remain the exclusive property of
Sam's Club and shall be treated as non-confidential information. Sam's Club will be entitled to
use and disclose any Ideas you submit for any purpose whatsoever, without restriction and
without compensating you or any other party in any way.

Sam's Club may sublicense its rights in Comments and Ideas through multiple tiers of
sublicenses. Sam's Club is, and will be, under no obligation (1) to maintain any Comment or Idea
in confidence; (2) to pay any compensation for any Comment or Idea; or (3) to respond to any
Comment or Idea. You grant to Sam's Club the right to use any name associated with any
Comment or Idea that you make available to Sam's Club, although Sam's Club has no obligation
to exercise such right, or to otherwise provide any attribution for any Comment or Idea.

You agree that you will not make any Comment that is, in whole or in part, libelous; scandalous;
inflammatory; discriminatory; defamatory; false; threatening; vulgar; obscene; pornographic;
profane; abusive; harassing; invasive of another's privacy; hateful or bashing; aimed at gender,
race, color, sexual orientation, national origin, religious views, or disability; in violation of local,
state, national, or international law; or that infringes on, or violates, any right of any party.
Additionally, you agree that you will not: (a) make any Comment that is an advertisement or
solicitation of business; (b) disrupt the normal flow of dialogue or make a Comment unrelated to
the topic being discussed (unless it is clear the discussion is free-form); (c) post a chain letter or
pyramid scheme; (d) impersonate another person; (e) distribute viruses or other harmful
computer code; (f) harvest or otherwise collects information about others, including email
addresses, without their consent; (g) post the same note more than once or engage in
"spamming"; (h) engage in any other conduct that restricts or inhibits any other person from
using or enjoying the site, or which, in the sole and exclusive judgment of Sam's Club, exposes
Sam's Club or any of its licensors, partners, or customers to any liability or detriment of any
type; or (i) violates any policy posted on the Site or intended to cause harm, damage, disable or
otherwise interfere with Sam's Club or Sam's Club partners.




                                 Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 5 of 31 PageID #: 157




    You are solely responsible for any Comments you make, the consequences of making a
    Comment, and your reliance on any Comments. Sam's Club is not responsible for the
    consequences of any Comment. Sam's Club is not responsible for screening or monitoring
    Comments.

    Sam's Club reserves the right (but is not obligated) to: (a) record any Comment you make on the
    site; (b) investigate an allegation that a Comment does not comply with these Terms; (c)
    determine in its sole discretion to remove or request the removal of Comments which are
    abusive, illegal, disruptive, or outdated, or that otherwise fail to comply with these Terms; (d)
    terminate a user's access to any or all parts of the site upon any breach of these Terms or the law;
    and (e) monitor, edit, or disclose any Comment, regardless of whether such Comment violates
    these Terms. Sam's Club will have no liability or responsibility to users for performance or
    nonperformance of such activities.

    V. Merchandise on Site and in Clubs
    A. No Representations as to Merchandise

•   The Site may make available listings, descriptions, and images of goods and services
    ("Products"). Such Products may be made available by us or by third parties. We make no
    representations as to the completeness, accuracy, reliability, validity, or timeliness of such
    listings, descriptions, or images (including any features, specifications, and prices contained on
    the Sites). Such information and the availability of any Product are subject to change at any time
    without notice.

•   We try to display colors of Products as accurately as possible on the Site. However, as the actual
    colors you see will depend on your monitor and various other factors, we cannot guarantee that
    the actual display of any color will be accurate.

    B. Product Availability and Pricing

•   Prices and availability for Products are subject to change without notice.

•   Sam's Club strives to provide accurate product and pricing information. However, pricing,
    pictorial or typographical errors may occur, and product descriptions and pricing information are
    never guaranteed. In the event that an item is listed at an incorrect price or with incorrect
    information due to an error in pricing or other product information, Sam's Club shall have the
    right, at its sole discretion, to either refuse or cancel any orders placed for that item, or contact
    you for notification and instructions on such cancellation, even after your receipt of order
    confirmation or shipping notice from Sam's Club. Without limitation to the terms above, Sam's
    Club does not represent that any Product listing on this website is accurate and expressly
    disclaims any liability relating to accuracy.

•   Unless otherwise noted, prices for Products on the Site do not include shipping costs or
    applicable taxes.

•   Sam's Club reserves the right to limit quantities to normal retail purchases or one-per-Member or
    household, and to exclude resellers.

                                    Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 6 of 31 PageID #: 158




•   We strive to provide you with the lowest costs possible on the site as well as in our warehouses.
    In our effort to provide you with the lowest costs in your particular geographic region,
    warehouse prices will sometimes differ from online prices.

    VI. Sam's Club Membership Terms and Purchases

    This section includes terms specific to Sam's Club Members ("Members") and does not apply to
    non-Members.

    A. General Membership Policies

•   Members must be 18 years of age or older and have a valid form of government-issued
    identification or other Sam's approved identification.

•   Sam's Club reserves the right to accept, refuse, or revoke Membership with or without cause at
    any time at its sole discretion.

•   Annual Membership fee covers a 12-month period.

•   Limit one Plus Membership per household or business and one membership refund per year.

•   Members are welcome to bring their children or guardians and up to two guests per visit to any
    Sam's Club location. A Member must accompany their children or guardians and their guests at
    all times. Members are responsible for any damage or other liability caused by themselves, their
    children or guardians, and their guests.

•   Sam's Club reserves the right to inspect any container, backpack, briefcase or other bag of any
    person upon entering or leaving any Sam's Club location and to refuse entry to anyone at our
    discretion.

•   Receipts: To ensure that you are charged correctly for the merchandise you have selected, Sam's
    Club may inspect or electronically scan your merchandise and electronic/phone or paper copy
    receipt(s) when you exit any Sam's Club location.

    B. Membership Period, Cards and Fees

•   Report a lost or stolen card immediately at any Sam's Club Member Services Desk or by calling
    888-746-7726.

•   The annual membership fee covers a 12-month period beginning on the date of enrollment. The
    annual membership fee is subject to change upon notice to the Member and the terms of the
    Autorenew program set forth in Section D.

•   The Primary Member is solely responsible for Membership, including the annual membership
    fee and account maintenance.

•   All Primary Members may add one Complimentary Household Cardholder. The Complimentary
    Household Cardholder may be the Primary Member's spouse, domestic partner, or person living


                                   Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 7 of 31 PageID #: 159




    in the same household who is 18 years of age or older. Other individuals are not eligible to be
    Complimentary Household Cardholders.

•   Membership cards are non-transferable and are valid at all Sam's Club locations nationwide and
    to make purchases on the Site.

•   Sam's Club reserves the right to require Members to take a photo in order to verify the Member's
    identity notwithstanding whether photo is on the Membership Card.

•   A Membership includes a Complimentary Card in addition to the Primary Member card.

•   Sam's Club Members may obtain up to eight (8) Add-on Memberships for an additional fee.
    Visit a Sam's Club store or call 888-746-7726 to learn about the terms and costs of Add-on
    Memberships.

•   Sam's Plus Members may obtain up to sixteen (16) additional Add-on Memberships for an
    additional fee.
•   Sam's Plus Members are eligible for Free Shipping subject to the terms available here.

•   Add-on Memberships include a card for the Primary Add-on Member and an Add-on
    Complimentary Household Cardholder.

•   The Membership period for an Add-on Member will coincide with the Primary Member's
    membership period. The Membership fee for an Add-On Member added after the Primary
    Member may be pro-rated.

    C. Membership Renewal and Cancellation

1. Autorenew Program

o   Members not enrolled in the Autorenew Program may enroll in the Autorenew Program at any
    time under then-current Terms.

o   If the Primary Member is enrolled in the Autorenew Program, they will be automatically billed
    for Membership. Sam's Club will charge the Membership fee, plus the fee for any existing Add-
    On Memberships and any applicable taxes, to the card on file approximately one day before the
    end of the Membership term. By enrolling in the Autorenew Program, the Primary Member
    authorizes Sam's Club to charge the scheduled payments (or any adjustment thereof) to the card
    on file, and represents that the Member is the owner or authorized user of the account(s).

o   Sam's Club will send information about the Autorenew Program and Membership renewal by
    email and/or mail. A valid email address is required for enrollment in the Autorenew Program
    when Members enroll online. Members may update payment and other account information
    online or by calling 1-888-746-7726. By enrolling in the Autorenew Program, a Member agrees
    to receive communication about Membership renewals only by email and to receive marketing
    and promotional email from Sam's Club.

o   A Member's authorization under the Autorenew Program allows Sam's Club to adjust the
    scheduled charge to reflect any changes to the Membership fee, Add-On Membership fee (if

                                   Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 8 of 31 PageID #: 160




    applicable), or taxes. Sam's Club will notify the Member by email, at least 10 days prior to
    making any charge, if there is a change to the fee. Although payment will usually be processed
    on the scheduled date, the Member should allow several days for processing.

o   ALL AUTHORIZATIONS UNDER THE AUTORENEW PROGRAM REMAIN IN EFFECT
    UNTIL THE AUTOMATIC RENEWAL OPTION IS CANCELLED. Members may cancel
    enrollment in the Autorenew Program at any time online through the Site, in Clubs, or by calling
    1-888-746-7726. Cancellation of enrollment in the Autorenew Program is distinct from
    cancellation of your Sam's Club Membership. A Member can keep his/her Membership active
    after unenrolling in the Autorenew Program by paying the renewal fee in Clubs, online or by
    calling 1-888-746-7726.

o   Continued participation in the Autorenew Program after any changes to these Terms or changes
    to the Membership fee constitutes acceptance of the changes.

2. Automatic Billing for Members with Sam's Club Credit
o Primary Members with a Sam's Club Credit Account will be automatically billed for
   Membership renewal unless otherwise specified. You will not receive a new card each year.
   See Sam's Club Credit Terms for additional information.

3. Members Not Enrolled in Autorenew Program

o   Primary Members will receive a renewal notice and invoice by their specified preferred method
    of contact unless enrolled in the Autorenew Program.

o   Only the Primary Member may authorize renewal or cardholder changes (including Add-On
    Memberships for Members who operate a business).

o   Members may renew their Membership online, by mail, in Clubs, or by calling 888-746-7726.

o   A renewal initiated within sixty (60) days after your expiration date will extend your
    Membership for twelve (12) months from the expiration date. If your Membership has been
    expired for more than sixty (60) days, Sam's Club has discretion to extend your Membership for
    twelve (12) months from the date you initiated the renewal.

4. Cancelling your Membership

o   Members may cancel their Membership and/or enrollment in the Autorenew Program at any time
    online through their account, in Clubs, or by calling 1-888-746-7726.

    D. Payment In Clubs and Online

•   For in-store purchases, Sam's Club accepts checks as set forth below, cash, Sam's Club Credit,
    Wal-Mart® Credit, American Express®, MasterCard®, Visa®, Discover®, EBT (electronic
    benefits transfer), debit cards, prepaid credit cards, and Walmart and Sam's Club Gift/e-Gift
    Cards.

•   For online purchases, Sam's Club accepts Sam's Club Credit, American Express®, MasterCard®,
    Visa®, Discover®, debit cards, prepaid credit cards, Sam's Club Credit Direct Accounts (if

                                  Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 9 of 31 PageID #: 161




    registered the account is registered online), digital wallet service -Visa Checkout, and Walmart
    and Sam's Club Gift/e-Gift Cards.

•   Some Sam's Club fuel station payment options may vary by location and some may not accept
    cash.

•   Checks will be accepted if they are preprinted from a Member's checking account or Member's
    business checking account with the Member's name and/or Member's Business Name, address
    and phone number as they appear on the Member account, and provided the amount is written in
    the exact amount of the purchase.

•   Government issued photo identification or other photo identification chosen by Sam's Club (such
    as a driver's license or passport) may be required.

    E. Use of Resale Permit or Transaction of Privilege Tax License (Tax-Exempt) for In-Store
    Purchases

•   Members who own or operate a business must declare to the cashier any merchandise that is
    being purchased for resale or that is otherwise tax-exempt.

•   A tax-exempt organization may purchase tax-free. All items purchased must be used exclusively
    by the tax-exempt organization for tax-exempt purposes only.

•   To obtain tax-exempt purchasing privileges, Members must present a valid state tax-exempt
    number or Sales and Use tax license (or photo copy) with a Membership application and renew it
    once every three years at Sam's Club.

•   If the Member buys any property for resale and uses that property for any purpose other than
    retention, demonstration or display while holding it for sale, the law requires the Member to
    report and pay tax, measured by the purchase price or other authorized amount.

•   Members will hold Sam's Club harmless from and will indemnify Sam's Club against any claim,
    loss or expense occurring from any failure to comply with resale permits or tax-exempt
    requirements, and Membership will be subject to immediate forfeiture.

    F. Use of Resale Permit or Transaction of Privilege Tax License (Tax-Exempt) for Online
    Purchases

•   To obtain tax-exempt purchasing privileges for online purchases, Members must register as Tax
    Exempt and be approved for Tax Exempt Status.

    VII. Privacy

    You acknowledge that any personal information that you provide through the Site, online or in
    Clubs will be used by Sam's Club in accordance with Sam's Club Privacy Policy (available
    at https://corporate.samsclub.com/sams-club-privacy-policy, which may be updated by Sam's
    Club from time to time).



                                   Effective February 1, 2020 [SL/AC/AO]
Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 10 of 31 PageID #: 162




VIII. LIMITATION OF LIABILITY

YOU ACKNOWLEDGE AND AGREE THAT, TO THE FULLEST EXTENT PROVIDED BY
APPLICABLE LAW, IN NO EVENT WILL SAM'S CLUB, OR ITS DIRECTORS,
AFFILIATES, OFFICERS, EMPLOYEES, AGENTS OR OTHER REPRESENTATIVES BE
LIABLE TO YOU OR TO ANY OTHER PERSON, FOR ANY DIRECT, INDIRECT,
SPECIAL, INCIDENTAL, PUNITIVE, CONSEQUENTIAL LOSSES OR DAMAGES, OR
ANY OTHER LOSSES OR DAMAGES OF ANY KIND, ARISING OUT OF OR RELATED
TO YOUR MEMBERSHIP OR PARTICIPATION IN SAM'S CLUB SERVICES OR YOUR
USE OF THE SITE, WHETHER IN TORT, CONTRACT, STRICT LIABILITY OR
OTHERWISE. TO THE FULLEST EXTENT PROVIDED BY APPLICABLE LAW, THIS
DISCLAIMER APPLIES TO ANY DAMAGES OR INJURY ARISING FROM ANY
FAILURE OF PERFORMANCE, ERROR, OMISSION, INTERRUPTION, DELETION,
DEFECTS, DELAY IN OPERATION OR TRANSMISSION, LOST PROFITS, LOSS OF
GOODWILL, LOSS OF DATA, WORK STOPPAGE, ACCURACY OF RESULTS,
COMPUTER FAILURE OR MALFUNCTION, COMPUTER VIRUSES, FILE CORRUPTION,
COMMUNICATION FAILURE, NETWORK OR SYSTEM OUTAGE, THEFT,
DESTRUCTION, UNAUTHORIZED ACCESS TO, ALTERATION OF, LOSS OF USE OF
ANY RECORD OR DATA, AND ANY OTHER TANGIBLE OR INTANGIBLE LOSS.
SUBJECT TO THE FOREGOING, TO THE FULLEST EXTENT PROVIDED BY
APPLICABLE LAW, NO SAM'S CLUB ENTITY WILL BE LIABLE FOR ANY DAMAGES
IN EXCESS OF THE FEES PAID BY YOU IN CONNECTION WITH YOUR USE OF THE
SITE AND YOUR MEMBERSHIP DURING THE SIX (6) MONTH PERIOD PRECEDING
THE DATE ON WHICH THE CLAIM AROSE.

YOU SPECIFICALLY ACKNOWLEDGE AND AGREE THAT, TO THE FULLEST EXTENT
PROVIDED BY APPLICABLE LAW, NO SAM'S CLUB ENTITY WILL BE LIABLE FOR
ANY DEFAMATORY, OFFENSIVE, OR ILLEGAL CONDUCT OF ANY SELLER
(INCLUDING ANY MARKETPLACE RETAILER), SHOPPER, OR OTHER USER OF THE
SITE.

IX. Indemnification

You agree to defend (at Sam's Club option), indemnify, and hold Sam's Club harmless from and
against any and all liabilities, claims, damages, costs, and expenses, including attorneys' fees and
costs, arising from or related to your misuse of the Site or any breach by you of these Terms.
Sam's Club reserves the right, at our expense, to assume exclusive defense and control of any
matter otherwise subject to indemnification by you and, in any case, you agree to cooperate with
Sam's Club if and as requested by Sam's Club in the defense and settlement of such matter.

X. Disputes & Arbitration; Applicable Law

PLEASE READ THIS SECTION CAREFULLY. IT MAY SIGNIFICANTLY AFFECT YOUR
LEGAL RIGHTS, INCLUDING YOUR RIGHT TO FILE A LAWSUIT IN COURT. Using or
accessing the Site and/or enrolling as a Sam's Club Member constitutes your acceptance of this
Arbitration provision. Please read it carefully as it provides that you and Sam's Club will waive

                               Effective February 1, 2020 [SL/AC/AO]
Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 11 of 31 PageID #: 163




any right to file a lawsuit in court or participate in a class action for matters within the terms of
the Arbitration provision. Sam's Club welcomes and encourages you to reach out to its Customer
Service representatives regarding any issues or concerns you may have. This agreement does not
in any way alter your ability to bring concerns to the attention of Sam's Club Customer Service at
888-746-7726, or visiting http://help.samsclub.com/app/ask.

A. Class Action Waiver and Agreement to Arbitrate

EXCEPT FOR DISPUTES THAT QUALIFY FOR SMALL CLAIMS COURT, ALL
DISPUTES ARISING OUT OF OR RELATED TO THESE TERMS OF USE OR ANY
ASPECT OF THE RELATIONSHIP BETWEEN YOU AND SAM'S CLUB, WHETHER
BASED IN CONTRACT, TORT, STATUTE, FRAUD, MISREPRESENTATION, OR ANY
OTHER LEGAL THEORY, WILL BE RESOLVED THROUGH FINAL AND BINDING
ARBITRATION BEFORE A NEUTRAL ARBITRATOR INSTEAD OF IN A COURT BY A
JUDGE OR JURY, AND YOU AGREE THAT SAM'S CLUB AND YOU ARE EACH
WAIVING THE RIGHT TO SUE IN COURT AND TO HAVE A TRIAL BY A JURY. YOU
AGREE THAT ANY ARBITRATION WILL TAKE PLACE ON AN INDIVIDUAL BASIS;
CLASS ARBITRATIONS AND CLASS ACTIONS ARE NOT PERMITTED AND YOU ARE
AGREEING TO GIVE UP THE ABILITY TO PARTICIPATE IN A CLASS ACTION.

B. Arbitration Process and Procedure

The arbitration will be administered by Judicial Arbitration Mediation Services, Inc. ("JAMS")
pursuant to the JAMS Streamlined Arbitration Rules & Procedures effective July 1, 2014 (the
"JAMS Rules") and as modified by this agreement to arbitrate. The JAMS Rules, including
instructions for bringing arbitration, are available on the JAMS website
at http://www.jamsadr.com/rules-streamlined-arbitration. The Minimum Standards are available
at https://www.jamsadr.com/consumer-minimum-standards/.

The arbitrator will conduct hearings, if any, by teleconference or videoconference, rather than by
personal appearances, unless the arbitrator determines upon request by you or by us that an in-
person hearing is appropriate. Any in-person appearances will be held at a location which is
reasonably convenient to both parties with due consideration of their ability to travel and other
pertinent circumstances. If the parties are unable to agree on a location, such determination
should be made by JAMS or by the arbitrator. The arbitrator's decision will follow the terms of
these Terms of Use and will be final and binding. The arbitrator will have authority to award
temporary, interim, or permanent injunctive relief or relief providing for specific performance of
these Terms of Use, but only to the extent necessary to provide relief warranted by the individual
claim before the arbitrator. The award rendered by the arbitrator may be confirmed and enforced
in any court having jurisdiction thereof. Notwithstanding any of the foregoing, nothing in these
Terms of Use will preclude you from bringing issues to the attention of federal, state, or local
agencies and, if the law allows, they can seek relief against us for you.

C. Applicable Law




                                Effective February 1, 2020 [SL/AC/AO]
Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 12 of 31 PageID #: 164




These Terms will be governed by and construed under the laws of the United States (including
federal arbitration law) and the State of California, without regard to conflicts of law principles.

XI. Termination

These Terms are effective unless and until terminated by either you or Sam's Club. You may
terminate these Terms at any time, provided that you discontinue any further use of the Site and
cancel your membership. We also may terminate these Terms at any time and may do so
immediately without notice, and deny you access to the Site, if in our sole discretion you fail to
comply with any term or provision of these Terms. Upon any termination of these Terms by
either you or Sam's Club, you must promptly destroy all Materials and other Content
downloaded or otherwise obtained from the Site, as well as all copies of such Content, whether
made under these Terms or otherwise. The following sections survive termination of these
Terms: Intellectual Property, User Ideas, Sam's Club Membership Terms and In-Store Purchases,
Limitation of Liability, Indemnification, Disputes & Arbitration; Applicable Law.

XII. General

These Terms represent the complete agreement and understanding between you and Sam's Club
and supersede all prior agreements and representations between the parties with respect to the
subject matter of these Terms. These Terms do not, and shall not be construed to, create any
partnership, joint venture, employer-employee, agency, or franchisor-franchisee relationship
between you and Sam's Club. Headings used in these Terms are for reference purposes only and
in no way define or limit the scope of the section. If any provision of these Terms is held to be
unenforceable for any reason, such provision will be reformed only to the extent necessary to
make it enforceable and the other terms of these Terms will remain in full force and effect. The
failure of Sam's Club to act with respect to a breach of these Terms by you or others does not
constitute a waiver and will not limit Sam's Club's rights with respect to such breach or any
subsequent breaches. You may not assign, transfer, or sublicense any or all of your rights or
obligations under these Terms without our express prior written consent. We may assign,
transfer, or sublicense any or all of our rights or obligations under these Terms without
restriction. Any use of the term "including" or variations thereof in these Terms shall be
construed as if followed by the phrase "without limitation." Notices to you (including notices of
changes to this these Terms) may be made via posting to the Site or by e-mail (including in each
case via links), or by regular mail. Without limitation, a printed version of these Terms and of
any notice given in electronic form shall be admissible in judicial or administrative proceedings
based upon or relating to these Terms to the same extent and subject to the same conditions as
other business documents and records originally generated and maintained in printed form.

XIII. Additional Terms

Sam's Club may from time to time and in its discretion incorporate additional terms to these
Terms that govern specific benefits and programs related to Members. The following additional
terms are incorporated by reference and govern your use of the Site and your Membership, as
applicable:


                                Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 13 of 31 PageID #: 165




•   Clubs, Site & Membership
•
•   Cash Rewards Program
•   Cash Back Rewards on Sam's Club Mastercard
•   Club Pickup
•   Free Shipping
•   Free Tire Repair
•   Instant Savings
•   Prescription Eyeglasses
•   Prescriptions Program
•   Satisfaction Guarantee
•   Subscription Order Services
•   Third-Party Service Subscription
•   Scan and Go

    XIV. How to Contact Us

    If you have any questions or comments, please contact us at http://help.samsclub.com/app/ask,
    by mail at 2101 SE Simple Savings Drive, Bentonville, AR 72716-0745, or by phone at 888-746-
    7726.

    Please note that e-mail communications will not necessarily be secure; accordingly, you should
    not include credit card information or other sensitive information in your e-mail correspondence
    with us. California residents may reach the Complaint Assistance Unit of the Division of
    Consumer Services of the California Department of Consumer Affairs by mail at 1625 North
    Market Blvd., Sacramento, CA 95834, or by telephone at (916) 445-1254 or (800) 952-5210.

    Cash Rewards Program Terms & Conditions
    I. Introduction

    The Sam's Club Cash Rewards program (the "Cash Rewards Program") is a membership benefit
    exclusively for U.S. Sam's Club Plus Members. The Cash Rewards Program allows Sam's Club
    Plus Members to earn Cash Rewards at Sam's Club locations on qualifying purchases, as set
    forth below and subject to change at Sam's Club discretion. Earned Cash Rewards are loaded on
    to the membership account at the end of each membership year (12-month period) and are then
    available for redemption as cash or store credit at Sam's Club locations.

    Participation in the Cash Rewards Program is subject to these Terms and Conditions, the Sam's
    Club Membership Terms and Conditions and other Sam's Club rules and policies that may be
    applicable. Participation in Cash Rewards constitutes acceptance of these Cash Rewards Terms
    and Conditions.

    All Sam's Club rules, including these Cash Rewards Terms and Conditions, may be amended
    from time to time without notice.


                                  Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 14 of 31 PageID #: 166




    II. Earning Cash Rewards
•   Sam's Club Plus Members earn 2% in Cash Rewards on qualifying pre-tax purchases minus any
    redeemed savings or other discounts during a membership year with a maximum reward of $500
    per membership per12-month period. Cash Rewards are loaded onto the Sam's Club Plus
    Member account about two months before the end of the membership year.

•   Returns for refund of qualified purchases are deducted from accrual of Cash Rewards.

•   Only qualifying purchases made by the Primary Member or Complimentary Household
    Cardholder, in a Sam's Club facility located in the United States (excluding Puerto Rico) qualify
    for Cash Rewards. Sam's Club Add-On Members do not qualify to earn Cash Rewards for
    themselves or for their Primary Member. Sam's Club reserves the right to modify qualifying
    purchases as determined at Sam's Club discretion.

•   Limit one Plus Membership per household or business.

•   Sam's Club reserves the right to correct any errors it discovers resulting in changes to the Cash
    Rewards Program or to a Member's Cash Rewards balance.

•   At the time Cash Rewards are earned and awarded, the Member must be an active Sam's Club
    Plus Member.

    III. Cash Reward Exclusions

    Cash Rewards are not earned for purchases of the following:

•   Alcoholic Beverages

•   Tobacco

•   eCigarettes

•   Fuel

•   Milk

•   Merchandise or services sold or provided on SamsClub.com website including those websites
    not hosted by Sam's Club.

•   Auctions

•   Gift Cards, including third party Gift Cards and eGift Cards

•   Inventory, sales, or services belonging to or offered by third parties (including but not limited to
    travel, identity protection services, subscriptions, auto buying program, insurance, merchant
    credit card payment processing services, business payment solutions, etc.)

•   Lottery tickets

                                    Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 15 of 31 PageID #: 167




•   Membership

•   Service contracts (example - mobile phone contracts)

•   Pharmacy - prescriptions

•   Photo Center

•   Postage stamps

•   Services and Labor (examples - delivery, tire installation, etc.)

•   Taxes and fees (including sales tax, deposits, miscellaneous fees etc.)

•   Service Plans

    Cash Rewards cannot be earned where application of the Cash Rewards Program would be
    prohibited by law or regulation. Sam's Club reserves the right to add, modify or delete qualifying
    restrictions on product categories or products from the above list without notice.

    IV. Maximum Balance of Cash Rewards

    Whenever a total of earned Cash Rewards reaches $2,000 ("Maximum Balance"), Cash Rewards
    will no longer accrue. A member must reduce the Maximum Balance (e.g. use for purchase or
    convert to cash) by redeeming earned Cash Rewards in order for Cash Rewards accrual to begin
    again. There is no retroactive credit of Cash Rewards earned for purchases made when a
    membership has reached the Maximum Balance.

    V. Redeeming Cash Rewards
•   Cash Rewards can be applied to purchases online, at any club, or in our mobile app, or redeem
    them for cash at a register.

•   Only the Primary Member or Complimentary Household Cardholder on a Membership account
    may access and redeem the Cash Rewards loaded on the Membership account.

•   Cash Rewards are non-transferable and non-assignable.

•   Sam's Club reserves the right to require photo identification.

    VI. Purchase and Rewards Balances
•   After Cash Rewards are awarded, any remaining qualifying purchase balance will be rolled over
    to the next Membership year and accrue towards Cash Rewards the following year.

•   If a Sam's Club Plus Membership is terminated, cancelled, downgraded to a lower level of
    Membership during the course of the Membership year, or revoked by Sam's Club, accrual of
    Cash Rewards for that year shall be forfeited.


                                    Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 16 of 31 PageID #: 168




•   Sam's Club Plus Members that have terminated, cancelled, or not renewed their Memberships, or
    have downgraded to a lower level of Membership, but have already been awarded Cash Rewards
    from a previous Membership year, can collect those Cash Rewards at Club locations. Sam's Club
    Plus Members that cancel or do not renew their Memberships will have one (1) year to collect
    any previously awarded Cash Rewards at U.S. Sam's Club locations. Sam's Club reserves the
    right to issue a Sam's Club/Walmart gift card for any outstanding Cash Rewards balance after
    one (1) year.

•   Outstanding Cash Rewards balances may be subject to state unclaimed property laws.

    VII. Suspension of Program or Rewards
•   Sam's Club reserves the right to amend, cancel or temporarily suspend the Cash Rewards
    Program, in whole or in part, or change any of these Cash Rewards Program Terms and
    Conditions at any time for any or no reason.

•   Sam's Club reserves the right to suspend a Member's access to Cash Rewards and the Cash
    Rewards Program in the event of fraud, abuse of Cash Rewards Program privileges, or violations
    of the Cash Rewards Terms and Conditions, as determined in Sam's Club's sole discretion
    without notice to the Member. Such action may result in the forfeiture of Cash Rewards not yet
    redeemed.

    Cash Back Rewards on Sam's Club® Mastercard® Terms &
    Conditions
    Sam's Club® Mastercard® cardholders are eligible to earn cash back rewards on purchases made
    with their Sam's Club® Mastercard® account. Rewards apply to net card purchases, minus
    returns. Rewards percentages depend on the type of purchase made (5% for gas purchases at Gas
    Stations for up to the first $6,000 in gas purchases each year and 1% thereafter; 3% for dining
    purchases and travel purchases, excluding warehouse clubs other than Sam's Club, and 1% for all
    other Eligible Purchases). Maximum of $5,000 in Cash Back rewards can be earned in a calendar
    year. Cash back rewards are issued starting each February for the Cash Back earned during the
    previous calendar year. Cash back rewards are forfeited if the Sam's Club® Mastercard®
    account is not in good standing, is more than two months delinquent on the minimum payment, if
    the Sam's Club Membership terminates or lapses, or if the Cash Back earned in a calendar year is
    less than $5.00. Cash back rewards will be automatically loaded onto your Sam's Club
    membership and may be redeemed only at a Sam's Club location or at SamsClub.com. See the
    "How to Earn Cash Back with your Sam's Club® Mastercard®" rewards program for details.
    Subject to credit approval.

    The Sam's Club Mastercard is issued by Synchrony Bank pursuant to a license by Mastercard
    International Incorporated. Mastercard is a registered trademark, and the circles design is a
    trademark of Mastercard International Incorporated.

    Club Pickup Terms & Conditions

                                  Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 17 of 31 PageID #: 169




    I. Introduction

    In a continuing effort to provide legendary member service and experience, Sam's Club offers
    Club Pickup services ("Club Pickup") for certain Members shopping on SamsClub.com.
    Participation is subject to these "Club Pickup Terms and Conditions." By participating in Club
    Pickup, you acknowledge that you have read these Club Pickup Terms and Conditions,
    understand them, and agree to be bound by them.

    Participation in Club Pickup is subject to these Club Pickup Terms and Conditions, the
    Membership Terms and Conditions, the Website Terms and Conditions, and other Sam's Club
    rules and policies as may be applicable.

    All Sam's Club rules, including these Club Pickup Terms and Conditions, may be amended from
    time to time without notice.

    II. Club Pickup
•   Club Pickup is a free service for certain Sam's Club Members that lets you order online at
    SamsClub.com and pick up your goods at any Sam's Club in the US or Puerto Rico.

•   Simply place your order online at SamsClub.com, select a day and time that fits your schedule,
    and then pick up your items from the designated Sam's Club. Sam's Club reserves the right to
    limit the availability of Club Pickup and reserves the right to charge a restocking fee for orders
    not picked up on time or not picked up.

•   We aim to have your goods ready at the Club Pickup time you selected when placing your order,
    but we do not guarantee that the goods will be ready on or by a certain date and time. Sam's Club
    will not be liable for not having the goods ready outside of the requested Club Pickup slot or for
    failing to provide all or any of the goods in your order.

•   Not all items are eligible for Club Pickup. Eligible items will be noted online with the option
    "Pick up in Club."

    Merchandise is subject to availability and is limited by the Sam's Club Merchandise Policy. If
    the item you requested is not available you will not be charged for that item. Select items require
    proof of age.

    III. Pricing and Weighted Items
•   All prices on SamsClub.com are shown in US dollars. Prices, unit prices (for weighted items),
    and available quantities may vary by Club and date.

•   Club Pickup: Price or unit price will be determined at the time you provide payment information.

o   If you choose to pay for a Club Pickup order in-Club at the time of Club Pickup, the price or unit
    price (for weighted items) charged for each item will be based on the price at the time of Club


                                    Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 18 of 31 PageID #: 170




    Pickup, and that price or unit price may be different from the online price at the time of order
    placement.

o   If you pay in advance on SamsClub.com at the time of order placement, then the price or unit
    price of each item is determined by the online price at the time you place your order.

o   In either case, the final price of fresh weighted items will be based on the applicable unit price
    and the quantity actually purchased.

•   Weighted Items: For certain items, including fresh meat, home meal solutions, and some bakery
    and cheese products, your final price is based on the unit price at the time you provide payment
    information and the actual weight of the item you purchase. At the time of online order
    placement, you will select the desired quantity of an item and be shown a maximum price that
    will be charged for the item. In no event will the final price of the weighted item exceed the
    maximum price that was authorized at the time of order placement.
•   See the Instant Savings Terms and Conditions for details about the applicability of Instant
    Savings to Club Pickup orders.

    IV. Payment

    Members can pay using any form of payment currently accepted for online purchases under the
    Membership Terms and Conditions.

    V. Authorization Process

    When you place an order, Sam's Club authorizes your credit or debit card to make sure sufficient
    funds are available. Also note that all credit/debit card holders are subject to validation checks by
    third parties and authorization by the card issuer. If the issuer of the card refuses to authorize
    payment or any other validation checks return adverse results, we will not accept your order. We
    will not be liable for non-processing of your order. Please contact your card issuer or your bank
    for the reason of refusal.

    VI. Taxes

    We are required by law to collect all taxes based on where your order is being processed. When
    you review your order total during the checkout process, you'll see the estimated sales tax.
    Actual taxes will be charged based on your delivery or pick up destination or the address from
    where the order is sourced, depending upon state and local laws. Taxes may be applied to pre-
    discounted prices depending on state and local laws.

    VII. Order Cancellation

    For Club Pickup, orders that are not picked up within the Club two days after the selected Club
    Pickup date will automatically be cancelled and items returned to inventory. If the Club Pickup
    order was prepaid, you will not be charged if the order is cancelled. However, Sam's Club
    reserves the right to charge a restocking fee for cancelled orders.


                                    Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 19 of 31 PageID #: 171




    VIII. Miscellaneous Terms

    Sam's Club reserves the right to amend, cancel or temporarily suspend these Club Pickup and
    Delivery Services, in whole or in part, or change any of these Club Pickup Terms and Conditions
    at any time for any or no reason.

    Free Shipping Terms & Conditions
•   Free Shipping for Plus Members: Plus Members with an active membership receive free
    shipping up to a total of ten (10) addresses on eligible online items denoted by a "Free Shipping
    for Plus" tag.

•   Free Shipping for Club Members: Club Members with an active membership shipping to the
    contiguous U.S. receive free shipping up to a total of ten (10) addresses on all eligible online
    items denoted by a "Free Shipping" tag. Club Members shipping items to Alaska and Hawaii
    may receive discounted shipping costs on items denoted by a "Free Shipping" tag and those
    items may also incur a surcharge.

•   If we inadvertently fail to charge for shipping and later discover that we should have done so, we
    will charge the card on file for the missed shipping charges.

    Additional Limitations/Exclusions:
•   Items that do not have a "Free Shipping" tag or a "Free Shipping for Plus" tag are not eligible for
    free shipping.

•   Shipping is not available to US territories (i.e. Puerto Rico, Guam, the US Virgin Islands, etc.)
    and post office boxes.

•   Free shipping is limited to ground shipping.

•   Limited items are available for free shipping to Military APO/FPO addresses.

•   Free shipping is available for online items only.

•   Free shipping does not include delivery from Club locations.

•   Free Shipping for Plus Members and Free Shipping for Club Members are not available on Sam's
    Club Auctions site.

•   Free Shipping is not available for drop ship resellers. A drop ship reseller is someone who
    purchases products for the purpose of resale on a third-party site. Drop ship reseller purchases
    returned to Sam's Club as undeliverable due to an incorrect address will be refunded, less any
    applicable shipping fees.

•   Sam's Club reserves the right to make changes to these terms and conditions at any time. Visit
    Free Shipping FAQs for additional information.


                                    Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 20 of 31 PageID #: 172




    Free Tire Repair Terms & Conditions
    Sam's Club offers free tire repair as a member benefit regardless of where the tire was purchased.
    In order for Sam's Club to provide repair, the tires must meet USTMA (U.S. Tire Manufacturers
    Association) guidelines for repair.

    Instant Savings Terms & Conditions
    You can receive a copy of the Instant Savings Book ("ISB") at any club while the ISB is active.
    The book is also available online at SamsClub.com but only while the ISB is active.

•   Instant Savings help you save on items throughout the Club. Offers are automatically redeemed
    after you scan your Membership card and then scan an Instant Savings item.

•   The types of offers you could receive range from dollar-off to percentage-off discounts on a wide
    variety of products and services available.

•   Instant Savings are typically used once, however some offers allow for multiple redemptions.
    Check for the limit indicator in each Instant Savings description.

•   Instant Savings offers may vary by club location and may not be available in all locations, online
    and/or to Puerto Rico cardholders.

    How long do Instant Savings offers last:

•   Instant Savings durations may vary.

•   The Instant Savings available and expiration dates are listed beside the item on your account
    summary that can be viewed online, or with the Mobile App.

•   Because these are special, limited-time and/or limited quantity offers, Instant Savings cannot be
    redeemed before the available date or after the expiration date.

    Prescription Eyeglasses Terms & Conditions
    Buy a complete pair of prescription eyeglasses (frames and lenses) at regular price and Sam's
    Club Plus Members receive 20% off the purchase. Valid prescription required. Offer applies to
    prescription eyeglasses and prescription sunglasses. Professional eye exam not included. This
    offer does not apply to individuals using vision insurance of any kind, including Medicaid or
    Medicare, for all or part of their purchase. This offer is non-transferable, may not be combined
    with other offers. Available in club only.

    Prescription Program Terms & Conditions


                                   Effective February 1, 2020 [SL/AC/AO]
Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 21 of 31 PageID #: 173




Sam's Club Plus Member Prescription Program: Available only to Sam's Club Plus Members
at Sam's Club Pharmacy locations. Not available on SamClub.com. Only quantity, formulation,
and strength stated on the Sam's Club Drug list for Plus Members covered at the price listed (or
free). See SamsClub.com/RxSavings for the list of drugs and pricing. Covered prescriptions
could change. There will be an additional cost for quantities greater than listed quantity. Not
available if listed prescription is part of a compound or to purchases submitted to any health
benefit program, pharmacy benefit program, insurer, or state/federal government health care
program. May not combine with other offers. Free drugs not available in CA, GA, HI, MA, MD,
ME, MN, OK, PA, PR, SC, WI. Sam's Club Drug List price not available in Puerto Rico.
Discount savings are based on the dispensing Sam's Club Pharmacy's regular retail cash price.
Program pricing may be limited to in stock items by select manufacturers of a covered drug at
the dispensing pharmacy. Taxes or other fees may apply. Other restrictions apply. Terms subject
to change without notice. See SamsClub.com or your local Sam's Club Pharmacy for details.

Satisfaction Guarantee Terms & Conditions
A. Introduction

Sam's Club is committed to offering quality products and services at an exceptional value. Our
goal is to ensure that our products and services meet or exceed your expectations on quality and
performance and that you're satisfied with your Sam's Club membership. We do this through
Sam's Club's 100% Membership Satisfaction Guarantee and 100% Merchandise Satisfaction
Guarantee programs ("Guarantee Programs") available exclusively to current active members
only. These Terms and Conditions ("Satisfaction Guarantee Terms and Conditions") explain the
Guarantee Programs and set forth Sam's Club's return, exchange, and refund policies. No other
agreement or guarantee will remove or waive the limitations and conditions for set forth in these
Terms and Conditions. Any statements to the contrary are null and void unless agreed to in
writing by an authorized officer of Sam's Club. Sam's Club reserves the right to discontinue any
guarantee program or to update or modify these Terms and Conditions without notice to you.

Sam's Club shoppers are also subject to Membership Terms and Conditions and the policies and
terms of other applicable Sam's Club programs, services, and promotions, all of which may
change without notice.

B. General Terms

Sam's Club may limit or refuse requests for exchanges or refunds in the event of , fraud, abuse of
privileges, or violations of these Satisfaction Guarantee Terms and Conditions, as determined in
Sam's Club's sole discretion.

These Satisfaction Guarantee Terms and Conditions do not affect any manufacturer's warranty or
requirements, limitations, or restrictions, which may vary by product. They also do not change
any Member Services Benefits or Protection Plans. See specific Member Services Benefits
information or Protection Plan information for details.

C. 100% Membership Satisfaction Guarantee
                               Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 22 of 31 PageID #: 174




    If at any time a member is unsatisfied with your Membership, let us know and we will cancel
    your membership and provide a refund of the amount paid for your current year Membership fee.
    There's a limit of one Plus Membership refund per member or business per year.

    D. 100% Merchandise Satisfaction Guarantee

    If you are not satisfied with the merchandise you purchased from Sam's Club, whether in-Club or
    online, we'll replace it or provide a refund in most cases. Some products have different policies,
    requirements and restrictions associated with them.

    1. General Requirements and Restrictions

•   In-Club Purchases. Purchases made at any Sam's Club location in the U.S. may be returned to
    any Sam's Club location in the U.S.

•   Online Purchases. Most purchases made on SamsClub.com may be returned to any Sam's Club
    location in the U.S., through SamsClub.com or by calling the Member Service Center at 888-
    746-7726. Exceptions will be noted on the products item page and during the SamsClub.com
    checkout process.

o   SamsClub.com. To request a return through SamsClub.com, login and go to "My Account" then
    "Order History".

o   Member Service Center. To request a return by calling the Member Service Center at
    888.746.7726, follow the prompts for "SamsClub.com" and "returns". Please have your order
    number available.

•   Membership Card or Photo ID. You may be required to present your membership card and/or
    valid photo identification.

•   Receipts. We prefer that you provide your original receipt or printed order, but if it is not
    available, we will do our best to process your return without it.

•   Product/Order Contents. You may be required to return the product with all product/order
    contents including packaging (boxes, manuals, warranty cards, etc.), parts, accessories, etc. This
    includes any promotional gifts, gift/shopping cards provided with the purchase. Sam's Club
    reserves the right to deny the refund in full or provide a partial refund if only part of the purchase
    is returned.

•   Number of Returns and Time Period. Sam's Club reserves the right to limit the number of returns
    and limit returns to items returned within a reasonable time period after purchase, as determined
    in Sam's Club's sole discretion.

•   Refunds/Credits.

o   Tender Type. Certain restrictions and limitations may apply regarding the tender type (cash,
    credit, etc.) of the refund or credit.


                                    Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 23 of 31 PageID #: 175




o   Purchases Returned to a Sam's Club Location. You will receive credit to the account that was
    charged at the time of purchase if at all possible. Otherwise, we may provide your refund on a
    Sam's Club Gift Card.

o   Online Purchases Returned via SamsClub.com. You will receive credit to the account that was
    charged at the time of purchase for merchandise returned through the SamsClub.com process and
    this may take several weeks due to return shipping and processing time.

o   Purchases via Government Funded Assistance Programs. Certain limitations and restrictions may
    apply to purchases using certain government funded assistance programs, including but not
    limited to, SNAP (Supplemental Nutrition Assistance Program) and WIC (Women, Infants and
    Children). Returns for items purchased under these programs must follow program requirements
    set forth by the government regulatory agency and applicable law. You may be required to
    exchange for the exact item being returned. All EBT (Electronic Benefit Transfer) refunds must
    be applied to the member's EBT card.

o   Tax. Tax refunds are governed by local laws and may vary by location.

o   Instant Savings/Promotions. If a purchase was made using Instant Savings or other promotions,
    refunds or credits will be calculated based on the price minus the Instant Savings amount or other
    promotional savings.

•   Shipping/Delivery Charges. Shipping and delivery charges will be refunded or credited only if
    the return is a result of an error by Sam's Club or damaged during shipping.

    2. Specific Products/Purchases

•   Adult Beverages (Wine, Beer and Spirits). Returns of adult beverages are governed by local laws
    and may vary by location. Please contact your local club for more information.

•   Auction Program Purchases.

o   Auctions Bulk/Volume Purchases via Samsclub.com A single order of five (5) units or; multiple
    orders (at least 5) of the same item within a 72 hour period; orders of two or more units that
    exceed $1,000; or (50) orders within a rolling twelve (12) month period are considered "Volume
    Purchases". Volume Purchases cannot be returned, except in the case of manufacturer defects or
    damage. All damages must be submitted with photos to samsbulk@SamsClub.com within 72
    hours after delivery. Sam's members who request orders to ship into a third party facility or to a
    freight forwarder are responsible for auditing and ensuring their orders arrive complete and free
    of damage.

o   Auctions Non-bulk purchases may be returned within 15 days for damaged and defective
    merchandise only by calling (888) 746-7726. Return of auction purchases cannot be returned
    online or in club.

•   Automotive Batteries and Tires. Return requests for automotive batteries and tires should be
    made to the Tire and Battery Center in Sam's Club. For more information regarding warranties,
    refer to the information provided at the time or purchase or contact your club manager.


                                   Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 24 of 31 PageID #: 176




•   Bulk/Volume Purchases in Club and via SamsClub.com. A single order of ten (10) units or more
    of the same item within a 24 hour period; multiple orders of ten (10) units or more of the same
    item within a 24 hour period; orders of two or more units that exceed $10,000; or five hundred
    (500) orders within a rolling twelve (12) month period are considered "Volume Purchases".
    Volume Purchases cannot be returned, except in the case of manufacturer defects or damage. All
    damages must be submitted with photos to samsbulk@SamsClub.com within 72 hours after
    delivery for online purchases. Sam's members who request online orders to ship into a third party
    facility or to a freight forwarder are responsible for auditing and ensuring their orders arrive
    complete and free of damage.

•   Cell Phones/Connected Devices. Mobile phones, tablets, other carrier connectable devices and
    similar consumer electronics must be returned within fourteen (14) days of purchase to the
    location where originally purchased. Details are in the contract you signed at the time of
    purchase.

•   Cigarettes and Tobacco. Returns of cigarettes or tobacco may require supplier representative
    approval due to promotional incentives or previous agreements and must be returned to the
    Tobacco Center in the location where originally purchased.

•   Computers, Laptops, Tablets & Smart Devices. Computers, laptops, tablets, smart watches and
    devices, personal electronic assistants, and other similar devices must be returned within ninety
    (90) days of purchase.

•   Custom or Personalized Purchases. Returns of custom or personalized items, including some
    photo products, may not be returned.

•   Other Electronic Items. All electronic items, such as drones, cameras, and gaming consoles,
    which are not otherwise referenced in this section, must be returned within ninety (90) days of
    purchase.
•   Contact Lenses Purchased Online. Contact lenses are subject to the return requirements detailed
    at http://www.samsclubcontacts.com/returns.asp.

•   Commercial Heavy Equipment. Vending machines, commercial cooking ranges and hood vents,
    ice machines, and other commercial equipment must be returned within thirty (30) days of
    original purchase and cannot be returned to a Club. Contact the Member Care Center at 888-746-
    7726 for more information.

•   Eyeglasses and Contact Lenses Purchased in Clubs. Prescription eyewear must be returned to the
    Optical Center where originally purchased.

•   Games and Software. Opened electronic games and software are only eligible for exchange of an
    identical product and only within 90 days of purchase.

•   Gift Cards, Shopping Cards, and Pre-paid Cards. Gift cards, shopping cards and pre-paid cards
    are not returnable after purchase except due to manufacturer defects or as required by law.

•   Hearing Aids. Hearing Aids must be returned to the Hearing Aid Center where originally
    purchased.

                                   Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 25 of 31 PageID #: 177




•   Jewelry & Watches. Jewelry and watches must be returned to the Jewelry Counter.

•   Mobile Sporting Goods. All Terrain Vehicles (ATVs), golf carts, go-karts, and all other electric
    or gasoline powered vehicles must be returned within thirty (30) days of purchase. The Member
    is responsible for the proper removal and disposal of any gasoline prior to returning. A gasoline
    purge certificate may be required.

•   Movies and Music. Defective opened pre-recorded movies and music are eligible for exchange
    of identical product only within 90 days of purchase.

•   Prescriptions. May not be returnable, please see a pharmacist at the Pharmacy where originally
    purchased for more information.

•   Televisions. Televisions must be returned within ninety (90) days of purchase.

•   Tickets. Tickets are not returnable after purchase.

•   Wholesale Trading Purchases. Purchases made via the Sam's Club Wholesale Trading Program
    are not returnable.

    Subscription Order Service Terms & Conditions
    I. Introduction

    These Subscription Order Service Terms and Conditions govern Sam's Club's Subscription Order
    Service. The Sam's Club Subscription Order Service allows Members to save time by
    subscribing online to have products shipped regularly on a schedule of the Member's choosing.
    By participating in the Subscription Order Service, you acknowledge that you have read these
    terms and conditions, understand them, and agree to be bound by them, and you further
    understand that you are authorizing an automatic, recurring charge to your chosen method of
    payment each time a Subscription Order is filled.

    Participation in the Subscription Order Service is subject to these Subscription Order Service
    Terms and Conditions, the Membership Terms and Conditions, the Website Terms and
    Conditions, and other Sam's Club rules and policies as may be applicable. Participation in the
    Subscription Order Service constitutes acceptance of these Subscription Order Service Terms
    and Conditions.

    All Sam's Club rules, including these Subscription Order Service Terms and Conditions, may be
    amended from time to time without notice.

    For more information about starting a Subscription Order, or changing, pausing, or canceling a
    Subscription Order, go to Learn more page.

    II. Sam's Club Membership or Guest Membership Required



                                   Effective February 1, 2020 [SL/AC/AO]
Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 26 of 31 PageID #: 178




Only current Sam's Club Members or Guest Members who have an online account, who have a
current email address, and who are shipping to addresses in the 48 contiguous United States
(excludes Puerto Rico, Guam, the US Virgin Islands, PO Boxes or to Military APO/FPO
addresses) may place Subscription Orders.

III. Starting a Subscription

Subscription Orders are limited to items displayed on SamsClub.com that have a "Subscribe"
link, which you may use to start a Subscription Order. Participation in the Subscription Orders
Service may not be assigned or transferred.

IV. Processing Subscription Orders

If any problems arise with your Subscription Order, or with the shipping address or payment
method associated with your order, and Sam's Club is unable to resolve the problem, we may
notify you via e-mail using the address associated with your Membership or Guest Membership.
It is important that you keep your information current with an accurate email address that you
regularly check. If problems arise with your Subscription Order that Sam's Club cannot resolve,
your order may be cancelled, and any future Subscription Orders may not be processed by Sam's
Club until the problem has been resolved.

V. Accepted Payment Methods

Payment for Subscription Orders may be made in any form authorized under the Membership
Terms and Conditions for online purchases, except that no gift cards, or debit cards are accepted
for Subscription Orders.

VI. Subscription Order Billing

The total cost for each item charged to your designated payment method for each recurring
Subscription Order will be the cost of the item on the day that the recurring order is filled rather
than the day the original subscription order was placed, plus any applicable sales tax.

The charge for each Subscription Order shipment will be billed to the payment method used to
create your Subscription Order account or other card on file. If we are unable to complete your
Subscription Order, your order will be cancelled unless or until you update your payment method
information. Please remember to update your payment method information as necessary to avoid
delays or cancellations. Your Subscription Order will remain in effect until it is cancelled by you
or Sam's Club, or if the order cannot be fulfilled.

VII. Low Inventory or Item Out of Stock

If Sam's Club no longer has the item you ordered in stock, you will be notified via the email
associated with your Membership Account or Guest Membership. If Sam's Club does not have a
sufficient number of the items to satisfy your order, it reserves the right to make a partial
shipment based on the amounts available.

                                Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 27 of 31 PageID #: 179




    VIII. Changing, Canceling, or Skipping Subscription Orders

    If you choose to enroll in a Subscription Order, you will continue to receive your order until you
    cancel your Subscription Order. After you have created a Subscription Order, you can change,
    cancel, or skip your Subscription Order in My Subscription page. From there you can modify
    your shipping address, change the delivery frequency, update your payment method, or pause or
    resume an order.

    You will receive a Subscription Order reminder email prior to your order being shipped. The
    email will contain information on how to change or cancel your Subscription Order, or you can
    make the changes via your Order History page. Any changes made by you to your Subscription
    Order will take effect with your next scheduled delivery, but these changes made by you to your
    Subscription Order must be made prior to 5 p.m. EST on the Sunday prior to the date your next
    order will be placed to be effective for your next order.

    IX. Returns

    All returns of Subscription Orders are subject to the Sam's Club Return Policy available here.

    X. Shipping and Delivery

    Shipping and Delivery prices and timelines may vary on shipping location and is subject to the
    Shipping and Delivery prices and timelines in effect at the time of shipment for each
    Subscription Order.

    XI. Termination and Interruptions
•   Sam's Club reserves the right to amend, cancel or temporarily suspend the Subscription Order
    Service, in whole or in part, or change any of these Subscription Order Service Terms and
    Conditions at any time for any or no reason. If this occurs, you will only be charged for orders
    that have been shipped to you.

•   Sam's Club will not be liable for any interruptions to the Subscription Order Service. We aim to
    have your goods ordered, shipped, and delivered per your Subscription Order schedule, but we
    do not guarantee that Subscription Orders will be processed and delivered on or by any date.

    Scan and Go Terms & Conditions
    I. Introduction

    The Sam's Club Scan & Go App ("SNG App") is designed to allow users to use their
    smartphones to scan items for purchase in participating Sam's Clubs and skip long checkout
    lines. Use of the SNG App is subject to these SNG App Terms and Conditions. By using the
    SNG App, you agree that you have read, understood, and accepted the Terms and Conditions and
    consent to be bound by them.


                                   Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 28 of 31 PageID #: 180




    In addition to these Terms, use of the SNG App is subject to the Terms and Conditions of
    SamsClub.com, which are available here. All information provided by users of the SNG App
    will be controlled by the Sam's Club Privacy Policy, which is available here and incorporated by
    reference. Additional relevant terms, including but not limited to Membership Terms and
    Conditions, Instant Savings Terms and Conditions, Cash Rewards Terms and Conditions, also
    apply and are available here.

    All Sam's Club rules, including these SNG App Terms and Conditions, may be amended from
    time to time without notice. In addition, Sam's Club may alter, suspend, or terminate use of the
    SNG App at any time at its discretion without notice to the user.

    II. Accessing and Using the SNG App
•   The SNG App is designed to allow Members to use their smartphones to scan items for purchase
    in participating Sam's Clubs and skip long checkout lines. To use the SNG App, open the app
    and scan each item's barcode, or if there is no barcode, the app will use computer vision and AI
    technology to recognize the products scanned. If the app is unable to automatically determine the
    item, please look up the item in the SNG App. Please note that images of scanned items may be
    retained by Sam's Club to improve our software. When shopping is complete, check out and pay
    for purchases in the SNG App with an accepted form of payment, and show the receipt from
    your phone on the way out.

•   For certain large SNG App purchases, you will be asked to confirm your payment method and
    identity with a Sam's Club associate located at the Club exit by presenting the credit card used
    for the transaction and a government-issued photo identification. If you are unable or unwilling
    to do so, you must pay for your purchase using traditional check-out methods. Please consult
    your Club for further details.

•   Some items such as alcohol, tobacco, non pre-activated gift cards, tires, car batteries, hearing
    center items, R-rated movies and games, prescriptions and some harsh chemicals cannot be
    purchased using the SNG App.

•   Sam's Club reserves the right to prohibit any individual from using the SNG App for any reason,
    including for: (1) violating any of these Terms and Conditions, (2) acting in a manner
    inconsistent with applicable laws, regulations, ordinances or these Terms and Conditions, (3)
    engaging in any misconduct or wrongdoing in connection with the SNG App, or (4) engaging in
    any fraudulent or inappropriate acts through the SNG App.

•   The SNG App is designed to be used on the user's personal smartphone with internet access.
    Sam's Club is not responsible for any data usage charges, service plans, fees, taxes or other
    charges related to your smartphone you may incur in connection with using the SNG App.

•   Sam's Club is not responsible for: (a) any inability to use the SNG App; (b) any delay in
    receiving information from the SNG App; (c) any acts or omissions of third parties; or (d) any
    errors in relation to the messages provided by the SNG App, including, without limitation, any
    pricing or typographical errors, errors of description, or errors regarding advertised prices.



                                   Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 29 of 31 PageID #: 181




•   Support requests, as well as questions, complaints, or claims regarding the SNG App, may be
    directed to Sam's Club Customer Support, at 1 888 746 7726.

    III. License Grant and Use Restrictions
    • The SNG App, including software embedded in the SNG App, is licensed, not sold, to you by
    Sam's Club only under these Terms and Conditions, and Sam's Club reserves all rights not
    expressly granted to you.
    • Sam's Club does not own the media or device on which the SNG App is recorded or stored,
    but Sam's Club and its licensors retain ownership of the SNG App itself and any images of items
    scanned by the app.
    • The SNG App is available only for supported devices, and is not available for all devices.
    Please check Sam's Club to determine whether a specific device-software combination is
    supported by the App. You may not use the SNG App on devices that are not supported.
    • You may not distribute or make the SNG App available over a network where it could be used
    by multiple devices at the same time. You may not sell, resell, rent, lease, lend, redistribute,
    sublicense, or otherwise make the SNG App available.
    • With respect to updates to the App that Sam's Club may make available for download, these
    Terms and Conditions allow you to download such SNG App updates to update or restore the
    SNG App on any supported device.

    IV. Copyright

    The SNG App is protected by copyright laws and international treaties. Except as and only to the
    extent permitted by applicable law, or by licensing terms governing use of open-sourced
    components included with the SNG App, you may not copy, decompile, reverse engineer,
    disassemble, attempt to derive the source code of, decrypt, modify, or create derivative works of
    the SNG App or SNG App updates, or any part thereof. Any attempt to do so is a violation of
    these Terms and Conditions and the rights of Sam's Club and/or its licensors. If you violate this
    restriction, you may be subject to prosecution and damages.

    V. Disclaimer of Warranties
•   To the extent authorized by law, Sam's Club makes no representations or warranties, either
    express or implied, with respect to type, quality, or fitness of goods or services or information
    provided in conjunction with the SNG App.

•   Sam's Club's waiver of any breach of these Terms by any user will not constitute a waiver of any
    other prior or subsequent breach of these Terms. Sam's Club's failure to insist upon strict
    compliance with these Terms by any user will not be deemed a waiver of any rights or remedies
    that Sam's Club may have against that or any other user. Sam's Club may waive compliance with
    these Terms in its sole discretion.

    VI. Limitation of Liability

    BY USING THE SNG APP, YOU AGREE THAT UNDER NO CIRCUMSTANCES, SHALL
    SAM'S CLUB OR ANY OF ITS EMPLOYEES, DIRECTORS, OFFICERS, AGENTS,

                                    Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 30 of 31 PageID #: 182




    VENDORS, OR SUPPLIERS BE LIABLE FOR ANY DIRECT OR INDIRECT LOSSES OR
    DAMAGES ARISING OUT OF OR IN CONNECTION WITH THE USE OF OR INABILITY
    TO USE THE APP.

    THIS IS A COMPREHENSIVE LIMITATION OF LIABILITY THAT APPLIES TO ALL
    LOSSES AND DAMAGES OF ANY KIND (WHETHER GENERAL, SPECIAL,
    CONSEQUENTIAL, INCIDENTAL, EXEMPLARY OR OTHERWISE, INCLUDING,
    WITHOUT LIMITATION, LOSS OF DATA, INCOME OR PROFITS), WHETHER IN
    CONTRACT, NEGLIGENCE OR OTHER TORTIOUS ACTION, EVEN IF AN
    AUTHORIZED REPRESENTATIVE OF SAM'S CLUB HAS BEEN ADVISED OF OR
    SHOULD HAVE KNOWN OF THE POSSIBILITY OF SUCH DAMAGES.

    YOU ACKNOWLEDGE, BY YOUR USE OF THE SNG APP, THAT YOUR USE OF THE
    APP IS AT YOUR SOLE RISK. IF YOU ARE DISSATISFIED WITH THE APP OR ANY
    CONTENT ON THE APP, OR WITH THESE APP TERMS AND CONDITIONS, YOU
    AGREE THAT YOUR SOLE AND EXCLUSIVE REMEDY IS TO DISCONTINUE USING
    THE APP.

    IF ANY PART OF THIS LIMITATION ON LIABILITY IS FOUND TO BE INVALID OR
    UNENFORCEABLE FOR ANY REASON, THEN THE AGGREGATE LIABILITY OF
    SAM'S CLUB UNDER SUCH CIRCUMSTANCES FOR LIABILITIES THAT OTHERWISE
    WOULD HAVE BEEN LIMITED SHALL NOT EXCEED ONE HUNDRED DOLLARS
    ($100).

    VII. Terms for iOS Users
•   These Terms and Conditions are between you and Sam's Club only, and not with Apple. Sam's
    Club, and not Apple, is solely responsible for the SNG App.

•   Your use of the SNG App must comply with the Usage Rules set forth in the Apple App Store
    Terms of Use. The license granted to you for the SNG App is a non-transferable license to use
    the SNG App on any iOS products that you own or control and as permitted by the Usage Rules
    set forth in the App Store Terms of Service, except that the SNG App may be accessed, acquired,
    and used by other accounts associated with you via Apple's Family Sharing program or volume
    purchasing.

•   Sam's Club, and not Apple, is solely responsible for providing maintenance and support for the
    SNG App.

•   In the event of any failure of the SNG App to comply with any warranty that may exist as a
    matter of law, you may notify Apple, and Apple will refund the purchase price for the SNG App
    to you. To the maximum extent permitted by applicable law, Apple will have no other warranty
    obligation whatsoever with respect to the SNG App, and will not be liable for any other claims,
    losses, liabilities, damages, costs or expenses attributable to any failure to conform to any
    warranty. Sam's Club shall not be required to provide a refund to you under any circumstances.



                                  Effective February 1, 2020 [SL/AC/AO]
    Case: 4:20-cv-00706-SNLJ Doc. #: 6-6 Filed: 06/05/20 Page: 31 of 31 PageID #: 183




•   Apple shall not be responsible for addressing any claims by you or any third party relating to the
    SNG App or your possession and/or use of the SNG App, including but not limited to (i) product
    liability claims, (ii) any claim that the App fails to conform to any applicable legal or regulatory
    requirement, or (iii) claims arising under consumer protection or similar legislation.

•   Apple shall not be responsible for the investigation, defense, settlement or discharge of any claim
    that the SNG App, or your possession and use of the SNG App, infringes a third party's
    intellectual property rights.

•   You represent and warrant that (i) the SNG App will not be downloaded or used in, or
    transported to, a country that is subject to a U.S. Government embargo, or has been designated
    by the U.S. Government as a "terrorist-supporting" country, and (ii) you are not listed on any
    U.S. Government list of prohibited or restricted parties.

    Apple and its subsidiaries are third-party beneficiaries of these Terms and Conditions, and have
    the right (and shall be deemed to have accepted the right) to enforce these Terms and Conditions
    against you.

•   Site Directory

•   Privacy Policy

•   CA Privacy Policy




                                    Effective February 1, 2020 [SL/AC/AO]
